         Case MDL No. 3089 Document 195-1 Filed 10/19/23 Page 1 of 1




               BEFORE THE UNITED STATES JUDICIAL PANEL ON
                       MULTIDISTRICT LITIGATION



IN RE: ORAL PHENYLEPHRINE                  MDL DOCKET NO. 3089
MARKETING AND SALES
PRACTICES LITIGATION




                       PLAINTIFFS’ SCHEDULE OF ACTIONS


CAPTION AND            DISTRICT        CASE NUMBER        JUDGE
PARTIES


Rampalli v. Walgreen   (N.D. Ill.)     1:23-cv-14015      Judge Mish S. Shah
Co.


Rampalli v. Target     (D. Minn.)      0:23-cv-02915      Chief Judge Patrick J.
Corporation                                               Schiltz


Rampalli v. Publix     (M.D. Fla.)     8:23-cv-02226      Judge Virginia M.
Super Markets, Inc.                                       Hernandez Covington
